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                       IN TUE UNITED STATES DISTRICT COURT
                    FOR -THE EASTERN DISTRICT OF PENNSYLVANIA


 NEUROSURGICAL CARE, LLC,
                                                       Civil Action No.:
                      Plaintiff,

        V.                                             COMPLAINT
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 DOC SOLUTIONS LLC, and                                 ,.
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 MARK KAISER,

                      Defendants.                                            -(
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                                           COMPLAINT                                             ~
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       Plaintiff, Neurosurgical Care, LLC, a Pennsylvania Limitecf

("Neurosurgical Care" or "Plaintiff'), by and through its undersigned attorneys, brings this

Complaint against defendants Doc Solutions LLC and Mark Kaiser. In support of its Complaint,

Plaintiff Neurosurgical Care hereby alleges as follows.

                                         BACKGROUND

       1.        Plaintiff, Neurosurgical Care is an outpatient office providing medical services,

located in Royersford, Pennsylvania.

       2.        Neurosurgical Care was founded by Dr. Sagi Kuznits, a practicing neurosurgeon,

who performs mainly inpatient neurosurgeries at hospitals in Paoli, Pottstown, and Phoenixville,

Pennsylvania, and for some of these hospitals he is the only neurosurgeon.

       3.        Dr. Kuznits attended college at the University of Pennsylvania, medical school at

Temple University and completed his neurosurgery internship and residency at Northwestern

University.

       4.        Dr. Kuznits is a board-certified neurosurgeon.




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       5.        Dr. Kuznits has been practicing medicine for 25 years.

       6.        Dr. Kuznits performs complex spinal surgeries as a last resort to address severe,

chronic pain arising from impingement of nerves and spine due to degenerative, traumatic,

neoplastic, and infectious etiology.

       7.        At Neurosurgical Care, Dr. Sagi Kuznits provides pre-operative and post-operative

care to patients, as well as offers alternatives to invasive surgeries to improve the management of

severe, chronic pain.

       8.        Dr. Kuznits has witnessed the difficulty of controlling pain and the addictive nature

of pain medications and narcotics that patients suffering from severe, chronic pain often use.

       9.        While trained as a surgeon, Dr. Kuznits is interested in using all modalities he has

found effective to improve the control of severe, chronic pain, including less invasive electronic

stimulation procedures that do not have the potential concomitant addictive effects of opioid

prescriptions.

        10.      One technology that Dr. Kuznits has found effective for his patients' pam

management is neurostimulation, a method of stimulating the nervous system to assist individuals

in reducing their chronic pain.

        11 .     In particular, Dr. Kuznits used and administered Stivax to his patients in order to

assist with the treatment of their chronic pain.

        12.      Stivax is a "non-narcotic and minimally invasive form of neurostimulation" which

is represented as "one of the only FDA approved microchip controlled microstimulation devices

for treating back, joint and arthritic pain." See Ex. A, Signal Health Group Stivax Website

Screenshot 1.

        13.      Stivax is manufactured by Biegler GmbH, a company located in Austria.


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          14.    The manufacturer distributes in the United States through distribution partners.

          15.    Stivax distribution partners include Solace Advancement, Signal Health Group, and

Doc Solutions.

          16.    One Stivax website represents that "studies indicate that the majority of patients

describe at least 50% reduction in pain and further accumulation of pain reduction in subsequent

months. Some patients, having solely relied upon narcotic drug therapies, have been able to

discontinue the use of these conventional medicines and extend walking distances." See Ex. B,

Signal Health Group Stivax Website Screenshot 2.

          17.    Stivax was marketed and sold to Dr. Kuznits by Doc Solutions and Mark Kaiser,

an authorized distributor of Stivax.

          18.    Doc Solutions and Mark Kaiser advised Neurosurgical Care to bill Medicare and

other government health care payors for Stivax using codes that they knew to be improper for

Stivax.

          19.    Neurosurgical Care used these codes, and, as a result, has been harmed by the

fraudulent billing and coding information provided by Doc Solutions and Mark Kaiser.

          20.    Neurosurgical Care seeks damages from Doc Solutions and Mark Kaiser to

compensate for the damages suffered as a result of the fraudulent information peddled by Doc

Solutions and Mark Kaiser.

                                              PARTIES

          21.    Plaintiff repeats, realleges, and incorporates here by reference each of the foregoing

and subsequent allegations of this Complaint as if set forth fully herein.

          22.    PlaintiffNeurosurgical Care is a Pennsylvania Limited Liability Company.




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        23.     Defendant Doc Solutions LLC ("Doc Solutions") is a Florida Limited Liability

Company, with a principal place of business listed at 6160 State Road 70 E #103, Bradenton, FL

34203 , and a mailing address of 1767 Lakewood Ranch Blvd. #326, Bradenton, FL 34211.

        24.     Defendant Doc Solutions is a distributor of Stivax, and promoted, marketed, and

distributed Stivax to Plaintiff Neurosurgical Care.

        25.     Defendant Mark Kaiser, is an Authorized Member of Defendant Doc Solutions with

a business address listed at 6160 State Road 70 E #103, Bradenton, FL 34203, and is authorized

to manage and control Doc Solutions. Upon information and belief, Defendant Mark Kaiser resides

at 16617 5th Avenue East, Bradenton, FL 34212.

                                 JURISDICTION AND VENUE

        26.     Plaintiff repeats, realleges, and incorporates here by reference each of the foregoing

and subsequent allegations of this Complaint as if set forth fully herein.

        27.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332, because

this is a civil action between citizens of different states and the amount in controversy exceeds

$75,000.

        28.     This Court has personal jurisdiction over the Defendants because they did business

in this state and District, and they have sufficient minimum contacts in this state and District

through the promotion, marketing, and sale of Stivax in this state and District, such that the

exercise of jurisdiction by this Court is permissible under traditional notions of fair play and

substantial justice.

        29.     Venue is proper in this Court under 28 U.S.C. § 1391(b) because a substantial part

of the events or omissions giving rise to the claims here occurred in the Eastern District of

Pennsylvania. Defendants marketed and sold Stivax in this state and District, Defendants received


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substantial compensation and profits from the sale of Stivax within this state and District, and

engaged in deliberate or, at best, negligent misrepresentations concerning the correct billing,

coding, and reimbursement for Stivax within this state and District, and the transactions between

the Defendants and Neurosurgical Care LLC occurred in this state and District, and a substantial

part of the property that is the subject of this action is situated in the District.

        30.     Venue is also proper under Section 1391(c) because defendants are subject to this

Court' s personal jurisdiction in the District.

                                    FACTUAL BACKGROUND

        31.     Plaintiff repeats, realleges, and incorporates here by reference each of the foregoing

and subsequent allegations of this Complaint as if set forth fully herein.

        32.     Defendant Doc Solutions is an authorized distributor of Stivax in the United States.

        33.     Defendant Doc Solutions promoted, marketed, and sold Stivax throughout the

United States and to PlaintiffNeurosurgical Care in Pennsylvania.

        34.     Defendant Mark Kaiser, the Chief Executive Officer of Doc Solutions, and the

National Account Manager for the Stivax Neurostimulator for Doc Solutions, promoted, marketed

and sold Stivax throughout the United States and to PlaintiffNeurosurgical Care in Pennsylvania.

        35.     Kaiser visited Plaintiff Neurosurgical Care in early 2017 and presented Stivax to

Dr. Kuznits, in order to market and promote the product and attempt to sell the product to

Neurosurgical Care.

        36.     Kaiser provided specific instructions regarding the appropriate billing codes for use

with Stivax, and assured Dr. Kuznits that the codes were reviewed and approved by a third-party

biller with expertise in Medicare coding.




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       37.     Dr. Kuznits and Plaintiff Neurosurgical Care take compliance with laws and

regulations seriously and always seek to bill the appropriate codes for devices and procedures.

       38.     It is typical for distributors of medical devices, such as Doc Solutions, to advise

practitioners on appropriate billing codes, as a distributor's understanding of reimbursement for

its devices should be superior to an individual physician's understanding.

       39.     Defendants Doc Solutions and Mark Kaiser made a series of fraudulent and

misleading misrepresentations to PlaintiffNeurosurgical Care regarding the appropriate coding for

reimbursement for Stivax under Medicare.

       40.     On March 14, 2017, Dr. Kuznits emailed Defendant Kaiser to determine whether it

was appropriate to bill for Stivax under Medicare reimbursement code L8679. See Ex. C, 3-14-

2017 Email Correspondence.

       41.     Defendant Kaiser responded by sending the Linkedln page of the compliance

officer of Doc Solutions and confirmed that the compliance officer and Doc Solutions' lead billing

company, Clinic Doc, vouched for the coding. Id.

       42.     On March 15, 2017, Defendant Kaiser connected Dr. Kuznits with Dr. Tim Warren

of Titan Medical Compliance "regarding compliance matters of the Stivax device." See Ex. D, 3-

15-2017 Email Correspondence.

       43.     Defendant Kaiser and Dr. Warren advised against using the Medicare billing code

64555 for Stivax in certain instances. Id.

       44.     On March 17, 2017, Defendant Kaiser connected Dr. Kuznits to another physician

who was using Stivax. See Ex. E, 3-17-2017 Email Correspondence. Dr. Kuznits mainly wanted

another medical physician's input as to the efficacy of Stivax.




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          45.    Defendant Kaiser connected Dr. Kuznits to Dr. Alex Landfield, who stated that he

has been using Stivax and that "the response has been excellent in many (but not all) of the cases."

Notably, Dr. Landfield further stated that he had "been billing as recommended by [Defendant

Kaiser] and have not had problems." Id.

          46.    On December 13, 2017, Defendant Kaiser sent Dr. Kuznits Stivax coding via email,

representing that the memo was to be viewed "as a way to proceed forward" and was the product

of work with their compliance team. See Ex. F, 12-13-2017 Email Correspondence.

          47.    This coding set identified Medicare billing code L6789 as an appropriate Medicare

reimbursement code for Stivax. Id.

          48.    Having no reason to question the representations of Doc Solutions and Kaiser, Dr.

Kuznits forwarded the aforementioned email to the Billing Specialist at Neurosurgical Care.

          49.    Defendants Doc Solutions and Mark Kaiser repeatedly and knowingly made these

false and misleading misrepresentations with the intent of inducing Neurosurgical Care to purchase

Stivax.

          50.    Neurosurgical Care and Dr. Kuznits relied on the representations of Doc Solutions

and Mark Kaiser. As noted above, it is typical for practitioners to rely on the representations or

directions of the manufacturer or distributors of medical devices.

          51.    Based on these repeated fraudulent misrepresentations, Neurosurgical Care began

purchasing Stivax from Doc Solutions starting in April 2017 and continued to purchase Stivax up

to and including through June 2018.

          52.    Neurosurgical Care successfully treated patients using Stivax.

          53 .   Many patients were happy and satisfied with the treatment they received.




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       54.     As a result of the treatment, patients were able to reduce, and in some cases avoid

the use of highly addictive narcotics.

       55.     Unbeknownst to Neurosurgical Care, L8679 was not an appropriate reimbursement

code for use with Stivax because Medicare considered it to be a form of electroacupuncture, and

acupuncture is not reimbursable under Medicare.

       56.     At no time during Neurosurgical Care's interactions with Doc Solutions or Mark

Kaiser did Doc Solutions or Mark Kaiser describe Stivax as electroacupuncture or acupuncture.

       57.     Rather, Doc Solutions and Mark Kaiser described Stivax as neurostimulation, a

procedure more similar to other types of modalities that are reimbursed by Medicare, such as

percutaneous electrical nerve stimulation.

       58.     Doc Solutions and Mark Kaiser intentionally concealed that Stivax was considered

to be an electroacupuncture device by the FDA, and intentionally misrepresented that Stivax is

reimbursable under Medicare using Medicare billing code L8679.

       59.     In the alternative, Defendants knew or should have known that the Medicare billing

code L8679 was not an appropriate reimbursement code for Stivax, but nonetheless misrepresented

that the code was an appropriate reimbursement code for Stivax.

       60.     Relying on Defendant Doc Solutions' and Defendant Kaiser's misrepresentations,

Plaintiff Neurosurgical Care billed code L8679 for roughly 58 claims for applying the Stivax

procedure, for a total of roughly $396,973.58.

       61.     On July 12, 2018, SafeGuard Services LLC, the Northeastern Unified Program

Integrity Contractor for the Centers for Medicare and Medicaid Services ("CMS") conducted an

audit ofNeurosurgical Care and concluded that certain procedures reimbursed under code L8679

were not reimbursable by Medicare.


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       62.     While the audit was taking place, Neurosurgical Care inquired as to whether it

should change any of its billing practices. SafeGuard Services LLC instructed Neurosurgical Care

to continue its billing practices until Neurosurgical Care heard otherwise.

       63.     On September 13, 2018, Neurosurgical Care received the audit report from the on-

site visit conducted by SafeGuard Services.

       64.     The audit report concluded that certain reimbursed procedures, including

procedures that used billing code L8679, would be denied based on FDA interpretation about

devices.

       65.     Immediately thereafter, Neurosurgical care stoppe1 billing the L8679 code after

becoming aware of the potential error in using this code.

       66.     After receiving the audit report, Neurosurgical Care was willing to repay any

reimbursement amount or overpayment regarding Stivax.

       67.     The audit report stated that Neurosurgical Care would "receive remittance advice

instructions from the [Medicare Administrative Coordinator ("MAC")] regarding the specifics of

the overpayment and repayment process."

       68.     The audit report also instructed Neurosurgical Care to "not forward payment or

appeal this determination until you have been notified by the MAC as the MAC controls, tracks,

and completes all appeal requests."

       69.     However, Neurosurgical Care never received any further communications from

SafeGuard Services LLC or CMS about the overpayment and repayment process or any appeal

process.

       70.     Instead, in December 2018, Plaintiff Neurosurgical Care and Dr. Sagi Kuznits

received Civil Investigative Demands from the United States Attorney's Office for the Eastern


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District of Pennsylvania and have been subjected to an investigation which relates to their billing

of Stivax under Medicare billing code L8679.

       71.     Neurosurgical Care promptly forwarded the fraudulent misrepresentations of Doc

Solutions and Kaiser.

       72.     Despite being a victim of a fraud, Neurosurgical Care has been forced to spend

significant funds in connection with defending itself against this investigation.

       73 .    Unfortunately, it appears that other authorized distributors of Stivax are also

making similar misrepresentations as Doc Solutions. For example, Signal Health Group, which is

a Stivax distributor, represents on its website that Stivax is "Medicare accepted!":




                                                             BENEFITS OF STIVAX
                                                             Minimal ly-invasive
                                                             No pi lls
                                                             Non-surgical
                                                             Device can be placed in office
                                                                           1
                                                             Potentia l requct ion in long-term treatment costs
                                                             Easy applicat ion
                                                             Stimulation strength individually adjusted by treating
                                                             physician
                                                             Water resistant
                                                             Medicare accepted!




       See Ex. G, Signal Heath Group Stivax Website Screenshot B.

        74.    Medical practices and practitioners would and are relying on these sorts of

misrepresentations and fraudulent statements from distributors.

        75.    This indicates a larger scheme among distributors of Stivax and the manufacturer

of Stivax to peddle Stivax by directly stating that it is appropriatelt reimbursable under Medicare

guidelines.



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                    COUNT I - FRAUDULENT MISREPRESENTATION

       76.     Neurosurgical Care repeats, realleges, and incorporates here by reference each of

the foregoing and subsequent allegations of this Complaint as if set forth fully herein.

       77.     Defendants represented to Plaintiff on multiple occasions that billing code L8679

for Stivax procedures was appropriate.

       78.     These representations were material to the transactions at issue because Plaintiff

purchased Stivax and billed Medicare as instructed by Defendants between the period of April

2017 and June 2018.

       79.     Defendants made these misrepresentations falsely, with knowledge of their falsity,

or with recklessness as to whether the misrepresentations were true or false.

       80.     Defendants made these misrepresentations with the intent of misleading Plaintiff

and the intent of inducing Plaintiff to rely on the misrepresentations to induce Plaintiff to begin

purchasing Stivax and continue to purchase and use Stivax.

       81.     Neurosurgical Care justifiably relied on these misrepresentations and, in reliance

on the misrepresentations, purchased Stivax and billed Stivax according to the codes offered by

Defendants.

       82.     As a direct and proximate cause of Defendants' fraudulent misrepresentations,

Plaintiff was harmed in an amount exceeding $150,000, to be determined at trial.

                    COUNT II - NEGLIGENT MISREPRESENTATION

       83.     Neurosurgical Care repeats, realleges, and incorporates here by reference each of

the foregoing and subsequent allegations of this Complaint as if set forth fully herein.

       84.     Defendants negligently misrepresented to Plaintiff on multiple occasions that

billing code L8679 for Stivax procedures was appropriate.

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        85.      Defendants knew or should have known that the material misrepresentations they

made were false.

        86.      Defendants knowingly made these material misrepresentations with the intent to

induce Plaintiff to begin purchasing and continue to purchase and use Stivax.

        87.      As a direct and proximate cause of Defendants' negligent misrepresentations,

Plaintiff was harmed in an amount exceeding $150,000, to be determined at trial.

                        COUNT III - FRAUDULENT CONCEALMENT

        88.      Neurosurgical Care repeats, realleges, and incorporates here by reference each of

the foregoing and subsequent allegations of this Complaint as if set forth fully herein.

        89.      At all times relevant hereto, Defendants owed plaintiff a duty to disclose all

information that they knew or reasonably should have known regarding billing codes to the

Plaintiff.

        90.      Defendants represented to Plaintiff on multiple occasions that billing code L8679

for Stivax procedures was appropriate.

        91.      These representations were material to the transactions at issue because Plaintiff

purchased Stivax and billed Medicare as instructed by Defendants between the period of April

2017 and June 2018.

        92.      Defendants made these misrepresentations falsely, with knowledge of their falsity,

or with recklessness as to whether the misrepresentations were true or false.

        93.      Defendants made these misrepresentations with the intent of misleading Plaintiff

and the intent of inducing Plaintiff to rely on the misrepresentations to induce Plaintiff to begin

purchasing Stivax and continue to purchase and use Stivax.




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       94.      Defendants intentionally concealed true and corr~ct information about Stivax

billing codes in order to deceive Plaintiff.

       95.      Neurosurgical Care justifiably relied on these misrepresentations and, in reliance

on the misrepresentations, purchased Stivax and billed Stivax acc@rding to the codes offered by

Defendants.

       96.      As a direct and proximate cause of Defendants' fraudulent misrepresentations,

Plaintiff was harmed in an amount exceeding $150,000, to be determined at trial.

                                  COUNT IV -- NEGLIGENCE

       97.      Neurosurgical Care repeats, realleges, and incorporktes here by reference each of

the foregoing and subsequent allegations of this Complaint as if se~ forth fully herein.

       98.      Defendants provided information to Plaintiff whi4h they knew or should have

known was incorrect and false.

       99.      Neurosurgical Care reasonably relied on Defendants' representations and

instructions concerning billing codes for Stivax.

        100.    Defendants owed Plaintiffs a duty to provide accurate information with respect to

billing codes for the product that Defendants promoted, marketed, and sold to Plaintiff.

        101 .   Defendants breached this duty by providing materially false information regarding

billing codes for the product that Defendants promoted, marketed, id sold to Plaintiff.

        102.    As a direct and proximate cause of this breach, the Plaintiff suffered damages

exceeding $150,000, in an amount to be determined at trial.

                                  DEMAND FOR JURY TRIAL

        103.    Neurosurgical Care demands a jury trial.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Neurosurgical Care respectfully requests that this Court enter judgment in

its favor and against Defendants and provide the following relief:

       A.      An award for Neurosurgical Care for all damages incurred by Neurosurgical Care

in purchasing and billing for Stivax under codes that Defendants fraudulently provided,

       B.      An award for Neurosurgical Care for the sums for which the United States

Attorney's Office for the Eastern District of Pennsylvania has and will seek payment.

       C.      An award ofreasonable attorneys' fees and costs.

       D.      An award to Plaintiff of such other and further relief as this Court may deem just

and proper.

DATED: December 6, 2019

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   Exhibit ''A''
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                                                 WHAT IS STIVAX?
   Stivax (pronounLed Steevax} i~ om:: of ti 1e only FDA dlJPf c,ved mit.rcx.hip t.unt, olle<l rnicro.,tirnuldtiun dt:Vil.~5> fur trealine bac.k. joint
   and arthritic pain. The device may only be prescribed and applied by a licensed medical professional. A non -narcotic and minimally-
   inv.asive torm ot neurost1mul~t1on. '.)tiv.ax has been proven to etrectively decrease p.1dn, increase mob1l1ty anCI improve the quahty at
                                                lifP for p.:1tiPntc:. -.ufft>ring from c;ynrlrorTlf>'> c:;11ch ;ic:;:




                                                        Chronic B.:tck and Neck Pain                       Tr.1umatic: Nerve Injuries
                                                        Peripheral Artery Dise-asc {PAD}                   Migraini:s
                                                        Sciatica                                           Herperic Neuralgia
                                                        f.-ibromyalgia                                     Refractory Angina
                                                        7ostcr                                             Tr.wmAt ic Nerve Injuries
                                                        Peripheral Vascula, Disease Neuropalhy             Keftex Sympalhet,c Dystrophy
                                                        Complex Regional Pain Syndrome (C RPS)             Oc.dpital Neuralgia
                                                        Post -Surgical Pain                                ·1rigemipal Neur~lgi.1
                                                        Diabetic Peripheral Neuropathy                     Post a1putation Pain
                                                        Depression and Insomnia                            La ter al rcmo1 al Cutaneous Neuropa thy
                                                        (increase5 endorphin5)
                                                                                                           ~~:;;ro~!~if~r~~~ave tailed
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    Exhibit ''B''
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 PROVEN           aecumulation ot pain reduction in ~ubscciuent months. Sorr:c pa,ticnu, having solely "elicd upon n.11rcobc drug thc•apte!>, have
                  bf'm.able tocfec:antinue the UM'! of lhe-.e con~ntion.11 medicin~ ..&nd e;.;tend walkin1 di!:.lant-es.

       BY STUDY
                       22% improved thcirwa1kingdi!::t.incc by SO 1C091;                  30% improved thcirwalkin;:di~tilncc by 400 8009'
                       JO"; if111XOY1::d tht:ir wdlkiroi: cfo,tam.c: by 100- 40()%        18% hnu1uved lht:ir w.il~fo,tUbtd11<..t:lJy > 800%
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    Exhibit ''C''
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         From: Mark Kaiser <kaisennarkd@hotmail.com>
         Date: March 14, 2017 at 6:31:35 PM EDT
         To: Sagi K.uznits <skuznits@aol.com>
         Subject: Re: Doc Solutions Order Form


          Correct.



          For reference, here is who our compliance officer ls and his llnkedln prolfile showing his
          credentials:



         .bnps://www.linkedin.com/in/doctjmm/


          our lead bllllng company, Clinic Doc, who vouches for the coding:

          .hnps://dinlcdr.com/


          Please let me know how else I can help.



          Thank You,
          Mark




          From: Sagi    Kuznits <skuznlts@aol.com>
          Sent: Tuesday, March 14, 2017 6:27:42 PM
                                               1
          To: Mark Kaiser
          Subject: Re: Doc Solutions Order Form

https://mail,aol.oom/webmail-std/an-us/PrlntMassage                                                               1/3


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          Thxs. I just want to make sure that it is appropriate to bill the 18679 code for this device, It is
          placed externally not implanted in the body like a spinal cord stim generator

          Sent from my iPhone

          On Mar 14, 2017, at 6:22 PM, Mark Kaiser <kaisennarkd@hotmail.com> wrote:




                  HI Doc:



                  We are moving to a Quick Books style of Invoicing to make things easier for everyone
                  Involved, we should have that up and running in 2-3 weeks,



                  Until we get to that point we are requesting every office fill out and either scan/emall
                  or fax back the attached order form.



                  Once we have this and the Credit Card Auth form that l will send in a separate email In
                  a moment we will be able to solidify a training date.



                  Please let me know if you have any further questions.



                  Thank-You,

                  Mark

                  Cell: 317-691-7191




hllps://mall.aol.com/webmell-std/en-us/PrlntMessege                                                                        2/3


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                  <DOC Order Form.pd£>




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   Exhibit ''D''
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     From:  Sagi Kuznits <skuznits@aol.com>
        To: Timothy Warren <stivax@titanmedicalcompllance.com>
       Cc:  Mark Kaiser <kaisermarkd@hotmail.com>
   Subject: Re: Introduction
      Date: Fri, Mar 24, 2017 5:46 pm


  Hi there. Mark sent me the billing codes for the stivax. Is it appropriate to bill the L8679 code. It is used for
  generator implants but this device is not implanted. Please advise. Thxs

  Sent from my iPhone

  On Mar 24, 2017, at 5:21 PM, Timothy Warren <~@titanmedicalcompliance.com> wrote:


           Dr. Sagi,




           I do not suggest any coding of the 64555 with any insurance company without having prior
           authorization.




           Dr. Warren



          From: Sagi Kuznits <skuznits@aol.com>
          Sent: Wednesday, March 22, 2017 4:34:49 PM
          To: Mark Kaiser
          Cc: Timothy Warren
          Subject: Re: Introduction

          Hey mark. Any word from the Dr Warren

          Sent from my iPhone

          On Mar 16, 2017, at 9:37 AM, Mark Kaiser <kaisennarkd@hotmail.com> wrote:


                   Many commercial policies have gone away from paying the 64555 code as well. I
                   would suggest, as I am sure Dr. Warren would as well, having billing pull the
                   commercial policy plans of the patients you are looking to place the device on and
                   checking to see if they still recognize the code and go from there.




                   64555 is still an accepted billing practice for billing within a surgery center via the
                   facility fee.



                   From: Sagi Kuznits <skuznjts(@aol.com>
                   Sent: Thursday,_March 16, 2017 9:01:11 AM
                   To: Mark Kaiser

https://mail.aol .com/webmall-std/en-us/PrintMessage                                                                    1/3
                                                                                                             NC000145
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                   cc~ stivax(!i)titanmedicalcompliance.com
                   Subject: Re: Introduction

                   Never used auricular stim with Medicare patients

                   Sent from my iPhone

                   On Mar 16, 2017, at 8:57 AM, Mark Kaiser <kaisennarkd@hotmail,com> wrote:


                           Not to overstep my boundaries here, but the 64555 code is not suggested
                           to be used with Stivax application. Medicare deemed it an inappropriate
                           code at the end of 2016.


                           From: Sagi Kuznits <skuznjts@aol,com>
                           Sent: Thursday, March 16, 2017 8:55:48 AM
                           To: Mark Kaiser
                           Cc: stivax@titanmedicalcompliance.com
                           Subject: Re: Introduction

                           Outpatient setting

                           Sent from my iPhone

                           On Mar 16, 2017, at 8:37 AM, Mark Kaiser <kaisermarkd@hotmail,com>
                           wrote:


                                    Doc;

                                   Were you billing the 64555 out as you being the rendering
                                   provider in a surgery center or in an outpatient setting?



                                   Thank,

                                    Mark


                                   From: Sagi Kuznits <skuznits@aol.com>
                                   Sent: Thursday, March 16, 2017 8:15:43 AM
                                   To: Mark Kaiser
                                   Cc: ~@>titanmedjcalcompljance.com
                                   Subject: Re: Introduction

                                   Good morning dr warren. I have used the pstim and nss
                                   auricular units. I billed the 64555 code. Before I purchase the
                                   Stivax system I want to make sure that the Generator implant
                                   code is appropriate as I do not want any issues with Medicare.
                                   Please advise.
                                   Thank you.

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                                 Sent from my iPhone

                                 On Mar 15, 2017, at 8:27 AM, Mark Kaiser
                                 <kaisermarkd@hotmail.com> wrote:

                                          Hi Guys:

                                          Dr. Sagi Kuznits, this is Dr. Tim Warren.



                                          Dr. Warren, Dr. Kuznits is a neurosurgeon in PA
                                          and has used the NSS before and fs now looking
                                          to move to Stivax.



                                          He would like to speak to you briefly
                                          regarding compliance matters of the Stivax
                                          device.



                                          Please take this as an introduction between the
                                          two of you.



                                          Thank You,

                                          Mark

                                          Cell: 317-691-7191




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          From: Sagi Kuznits <skuznits@aol.com>
          Date: March 19, 2017 at 8:28:50 PM EDT
          To: Alex Landfield <adnl007@hottnail.com>
          Cc: Mark Kaiser <kaisermarkd@hotmail.com>
          Subject: Re: Introduction


  Thanks for your input

  Sent from my iPhone

  On Mar 18, 2017, at 10:27 PM, Alex Landfield <adn1007@hotmail.com> wrote:


  DrKuznits,
  We have been using Stivax usually for chronic back and neck pain refractory to medication, therapy, epidural
  injectio.ns, etc. We have also used it for severe Trigeminal Neuralgia, migraine, and in a case offibromyalgia. I
  have only started using it fairly recently, but the response has been excellent in many (but not all) of the cases.
  The trigeminal neuralgia patient had a dramatic response and several of the other patients have had significant
  improvement so far. Yes we have been billing as recommended by Mark and have not had problems. Hope this
  is helpful.
  Best regards,
  Alex Landfield

  Sent from my iPhone

  On Mar 18, 2017, at4:14 PM, Sagi Kuznits <skuznits@aol.com> wrote:


          Hi dr landfield. I like your website. I am a neurosurgeon in the Philadelphia area. Wanted to lmow
          for which types of pain do you use stivax and patient response. Also are you billing as
          recommended using the stimulator implant code and any iss,ies with reimbursement from insurance
          Thxs

          Sent from my iPhone

          On Mar 17, 2017, at7:41 PM, MarkKaiser<kaisennarkd@hotmail.com> wrote:


                  Hi Guys:

                  Dr. Sagi Kuznlts this Is Dr. Alex Landfield .
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                 Dr. Sagi Is looking to bring Stivax Into his clinic and asked to speak to another MD
                 about the success they have had In their office from a clinical setting. Dr. Landfleld has
                 seen great success with all types of patients within his office.



                  Please take this as an Introduction between the two of you.



                 Thank You,

                  Mark

                 Cell: 317-691-7191




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Kristy Schugsta

From:                          Sagi Kuznits <skuznits@aol.com>
Sent:                          Wednesday, December 13, 2017 10:08 PM
To:                            Kristy Schugsta
Subject                        Fwd: New Stivax Coding/Conference Call Schedule
Attachments:                   New Suggested Stivax Coding.docx




Sent from my IP hone

Begin forwarded message:

       From: Mark l<alser <kalsermarkd@hotmall.com>
       Date: December 13, 2017 at 10:22:49 AM EST
       Subject: New Stivax Coding/Conference Call Schedule

       Hello:
       I hope everyone is having a great Holiday season.

       We at Doc Solutions have fielded several Inquiries recently from clients .across the country
       regarding Stlvax coding. Please view this memo as a way to proceed forward .


       After working closely with our compliance team over the past few weeks we are very happy to
       announce a new coding set that is to be used effectively immediately.

       Please find this attached above.

       In an attempt to help answer questions and alleviate concerns, we have scheduled a list of
       conference calls below.

       I strongly suggest that someone on your team be available for at least one of the calls so that all
       questions can be asked and further discussion can be had about how to best move forward
       with Stlvax in your office.

       Conference Call Line:
       267-930-4000

       Password:
       682658

       Call Dates And Times (all times listed are on Eastern Standard Time)

       Wednesday 12/13
       12PM
       6PM
                                                        1




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Friday 12/15
10AM
1PM

Monday 12/18
10AM
1PM

The calls will go over current billing guidelines, ·coding, billing and how to _utilize the two
different billing sets listed on the coding sheet above.

Expect the calls to last 10 minutes with additional time added as needed for Q&A.

i o r-esp~t 'e\J'ef'/Cm'es bUS'J sch-edu\e W'e will start all calls at the exact tim'es listed.

I look forward to speaking to everyone here soon I

Thank You,
Mark Kaiser
Cell: 317-691-7191
Doc Solutions CEO
National Account· Manager, Stivax Neurostimulator




                                                        2




                                                                                                  NC000182
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                          Coding for the Stivax Stimulator

Coding for Stivax Stimulator

Tract One
 Commercial                      Medicare                       Workers Com~ensation

 Day 1                           Day 1                          Day 1
                     99213                           99213                           992l3
                     L8680                           L8679                           L8680
                     L8686                                                           L8686
 Day21                          Day21                           Day21
                   99213                           99213                           99213
             95970-95972                     95970-95972                     95970-95972
                   63663                           63663                           63663

 Day42                           Day42                          Day42
                     99213                           99213                           99213
                     63663                           63663                           63663

Tract Two
 Commercial                     Medicare                        Workers Comnensation

 Day 1                          Day 1                           Day 1
                     99213                           99213                          99213
                     L8680                           L8679                          L8680
                     L8686                                                          L8686
 Day21                          Day21                           Day21
                   99213                           99213                           99213
             95970-95972                     95970-95972                     95970-95972
                   63663                           63663                           63663
                   L8680
 Day42                          Day42                           Day42
                     99213                           99213                           99213
                     63633                           L8679                           63663

This document and the information contained herein is for general information purposes only
and is not intended and does not constitute legal, reimbursement, coding, business, or other
advice. Furthermore, it is not intended to increase or maximize payment by any payer. Nothing




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in this document should be construed as a guarantee regarding levels of reimbursement,
payment, or charge, or that reimbursement or other payment will be received. Similarly, nothing
in this document should be viewed as instructions for selecting any particular code. The ultimate
responsibility for coding and obtaining payment/reimbursement remains with the customer. This
includes the responsibility for accuracy and veracity of all coding and claims submitted to third-
party payers. Also note that the information presented herein represents only one of a number of
potential scenarios, based on the assumptions, variables and data presented.

Explanation oftb.e codes

L8679

Implantable neurostimulator, pulse generator, any type

L8680

Implantable n~urost~ulator electrode, each

This code is not payable by Medicare and should never be billed to any Medicare
or Medicare Advantage Plan carrier.

L8686

Implantable neurostimulator pulse generator, single array, non-rechargeable,
includes extension

63663

Revision including replacement, when performed, of spinal neurostimulator
electrode percutaneous array(s), including fluoroscopy, when performed

95970

Analyze Neurostimulator no programing

Electronic analysis of implanted neurostimulator pulse generator system (eg, rate,
pulse amplitude, pulse duration, configuration of wave form, battery status,
electrode select ability, output modulation, cycling, impedance and patient
compliance measurements); simple or complex brain, spinal cord, or peripheral (ie,




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cranial nerve, peripheral nerve, sacral nerve, neuromuscular) neurostimulator pulse
generator/transmitter, without reprogramming

95971

Analyze Neurostimulator Simple

Electronic analysis of implanted neurostimulator pulse generator system (eg, rate,
pulse amplitude, pulse duration, con,figuration of wave form, battery status,
electrode select ability, output modulation, cycling, impedance and patient
compliance measurements); simple spinal cord, or peripheral (ie, peripheral nerve,
sacral nerve, neuromuscular) neurostimulator pulse generator/transmitter, with
intraoperative or subsequent programming

95972

Analyze Neurostimulator Complex

Electronic analysis of implanted neurostimulator pulse generator system (eg, rate,
pulse amplitude, pulse duration, configuration of wave form, battery status,
electrode select ability, output modulation, cycling, impedance and patient
compliance measurements); complex spinal cord, or peripheral (ie, peripheral
nerve, sacral nerve, neuromuscular) (except cranial nerve) neurostimulator pulse
generator/transmitter, with intraoperative or subsequent programming

Diagnosis codes that support the use of this CPT-codes 95970-95972
M47.24      Other spondylosis with radiculopathy, thoracic region
M47.25      Other spondylosis with radiculopathy, thoracolumbar region
M47.26      Other spondylosis with radiculopathy, lumbar region
M47.27      Other spondylosis with radiculopathy, lumbosacral region
M47.28      Other spondylosis with radiculopathy, sacral and sacrococcygeal region
M47.814     Spondylosis without myelopathy or radiculopathy, thoracic region
M47.815     Spondylosis without myelopathy or radiculopathy, thoracolumbar region
M47.816     Spondylosis without myelopathy or radiculopathy, lumbar region
M47.817     Spondylosis without myelopathy or radiculopathy, lumbosacral region
M47.818     Spondylosis without myelopathy or radiculopathy, sacral and sacrococcygeal
            region
M47.894     Other spondylosis, thoracic region
M47.895     Other spondylosis, thoracolumbar region
M47.896     Other spondylosis, lumbar region




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M47.897      Other spondylosis, lumbosacral region
M47.898      Other spondylosis, sacral and sacrococcygeal region
MS0.11       Cervical disc disorder with radiculopathy, high cervical region
MS0.121      Cervical disc disorder at C4-C5 level with radiculopathy
MS0.122      Cervical disc disorder at C5-C6 level with radiculopathy
MS0.123      Cervical disc disorder at C6-C7 level with radiculopathy
MS0.13       Cervical disc disorder with radiculopathy, cervicothoracic region
MSl.14       Intervertebral disc disorders with radiculopathy, thoracic region
MSL15        Intervertebral disc disorders with radiculopathy, thoracolumbar region
MSl.16       Intervertebral disc disorders with radiculopathy, lumbar region
MSl.17       Intervertebral disc disorders with radiculopathy, lumbosacral region
MSl.24       Other intervertebral disc displacement, thoracic region
MSl.25       Other intervertebral disc displacement, thoracolumbar region
M51.26       Other intervertebral disc displacement, lumbar region
MSl.27       Other intervertebral disc displacement, lumbosacral region
MSl.34       Other intervertebral disc degeneration, thoracic region
MSl.35       Other intervertebral disc degeneration, thoracolumbar region
MSl.36       Other intervertebral disc degeneration, lumbar region
M51.37       Other intervertebral disc degeneration, lumbosacral region
M54.11       Radiculopathy, occipito-atlanto-axial region
M54.12       Radiculopathy, cervical region
M54.13       Radiculopathy, cervicothoracic region
M54.14       Radiculopathy, thoracic region
M54.15       Radiculopathy, thoracolumbar region
M54.16       Radiculopathy, lumbar region
M54.17       Radiculopathy, lumbosacral region
M54.18       Radiculopathy, sacral and sacrococcygeal region
M54.2        Cervicalgia
M54.5        Low back pain


99213

Office Visit, Established

Office or other outpatient visit for the evaluation and management of an
                                                                  I

established patient, which requires at least 2 of these 3 key components:
   • An expanded problem focused history;
   • An expanded problem focused examination;
   • Medical decision making of low complexity.
Counseling and coordination of care with other physicians, other qualified health
care professionals, or agencies are provided consistent with the nature of the
problem(s) and the patient's and/or family's needs. Usually, the presenting
problem(s) are oflowto moderate severity.




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General Information

Patients must have undergone careful screening, evaluation, and diagnosis by a
multidisciplinary team prior to implantation. (Such screening must include
psychological, as well as physical evaluation). Documentation of the history and
careful screening must be available in the patient chart if requested. Patients being
selected for a trial

   • Must not have active substance abuse issues.
   • Must undergo proper patient education, discussion, and disclosure including
     an extensive discussion of the risks and benefits ofthls therapy.
   • Must undergo appropriate psychological screening




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                                Device can be placed in office
                                Potential reduction in long-term treatment costs
                                Ea~y application
                                Stimulation strength individually adjusted by treating
                                physician
                                Water res1stant
                                Medicare accepted!
